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JIN THE UNITED STATES DISTRICT COURT

MICHAEL W. DGRRINS HE NORTHERN DISTRICT OF ILLINOIS
CLERK. U.S, DIBTRICT COURT EASTERN DIVISION

JAMES FINKLEFY, )
Plaintiff, 06CV1963
. ) JUDGE GUZMAN
VILLAGE OF MAYWOOD, OFFICER 5 MAGISTRATE NOLAN
BUTLER, and OFFICER ROSA, ) ee
Defendants. JURY TRIAL DEMANDED
COMPLAINT

NOW COMES the Plaintiff, JAMES FINKLEY, by and through his attorney,
BASILEIOS J. FOUTRIS, and complaining against the Defendants, VILAGE OF
MAYWOOD, OFFICER BUTLER, and OFFICER ROSA, states as follows:

Nature of Action

l. This action is brought pursuant to the Laws of the United States
Constitution, specifically through 42 U.S.C. §1983 and 42 U.S.C. §1988, and the Laws of
the State of Illinois, to redress deprivations of the Civil Rights of the Plaintiff by the
Defendants when the Plaintiff was arrested on November 10, 2005 by the Defendants.

Jurisdiction and Venue

2, This Court has jurisdiction pursuant to 28 U.S.C, §1331, 28 U.S.C. §1343,
and 28 U.S.C. §1367.

3. At all relevant times, the Plaintiff was a resident of the State of Tllinois in
this Judicial District.

4. The Village of Maywood is a municipal corporation located in the State of

Iinois in this Judicial District. At all relevant times, the Village of Maywood was the

 
 

 

Case: 1:06-cv-01963 Document #: 1 Filed: 04/07/06 Page 2 of 8 PagelD #:2

employer of Defendants, OFFICER BUTLER, and OFFICER ROSA. The Defendants,
OFFICER BUTLER, and OFFICER ROSA (collectively “Defendant Officers” hereafter),
were at all relevant limes employed by the Village of Maywood and duly appointed
police officers in the Village of Maywood acting within the course and scope of their
employment and under color of law.

5. All the events giving rise to the claims asserted herem occurred within this
Judicial District.

Facts

6. On November 10, 2005, the Plaintiff was arrested in Maywood, Illinois by
the Defendant Officers.

7. On that date, without provocation or legal justification, the Defendant
Officers battered the Plaintiff.

8. Specifically, the Defendant Officers repeatedly punched the Plaintiff in the
facc and in the body, they shoved his face into the ground, and they rubbed dirt and
leaves into his face during the course of the arrest. The Plaintiff was complying with all
orders and was not resisting in any fashion when he was being battercd.

Q, The Plaintiff sustained injuries due to being punched by the Defendant
Officers.

10. Following the arrest the Plaintiff was transported to the police station.
The Plaintiff was visibly injured duc to his encounter with the Defendant Officers.

11. Duc to his visible injuries, the Defendant Officers engaged in conduct that
prevented the Plaintiff from appearing before a Court for a probable cause determination

in a reasonable amount of time. Specifically, the Defendant Officers prevented the
 

Case: 1:06-cv-01963 Document #: 1 Filed: 04/07/06 Page 3 of 8 PagelD #:3

Plainulf from being transported to a Court while other individuals were being transported
to Court even though the investigation into his arrest and his processing were completed.
There were no extraordinary circumstances that prevented the Plamtiff from being
transported along with the other prisoners.

12. When the Plaintiff was transported to Court, he was transported by
Defendant ROSA. Before transporting the Plaintiff, ROSA placed handculfs on the
Plaintiff. The handcuffs were intentionally placed too tight and caused pain to the
Plaintiff. The Plaintiff complained about the handcuffs being too tight, bul ROSA
ignored the Plaintiffs complaints. ROSA refused to loosen the handcuffs.

13, The Defendant Officers’ acts were intentional, willful and wanton.

COUNT I- 42 U.S.C, §1983
Excessive Force- Defendant Officers

14. The Plaintiff realleges Paragraphs 1 through 13, inclusive, and
incorporates those Paragraphs herein, as though fully stated as this Paragraph 14.

15, As described above, the Defendant Officers used excessive force during
their arrest of the Plaimtif.

16. Fhe misconduct was undertaken by the Defendant Officers under color of
law, under the course and scope of their employment, was objectively unreasonable, with
malice, and was undertaken intentionally with willful indifference to the Plaintiff's
constitutional rights.

17. The Defendant Officers’ acts were undertaken in violation of the

Plaintiff's rights as guaranteed by the United States Constitution.
 

Case: 1:06-cv-01963 Document #: 1 Filed: 04/07/06 Page 4 of 8 PagelD #:4

18. As a dircct and proximate result of the Defendant Officers’ acts the
Plaintiff was injured, suffered emotional anxiety, mental trauma, humiliation, fear, stress,
pain and suffering, and other damages.

WHEREFORE, the Plaintiff, JAMES FINKLEY, prays for judgment in his favor
and agaist the Delendants, OFFICER BUTLER, and OFFICER ROSA, awarding
compensatory damages, atlorney fees, costs, and punitive damages against the
Defendants, as well as any other relief this Court deems just and appropriate.

Count H- Hlinois State Law
Battery- All Defendants

19. The Plaintiff rcalleges Paragraphs 1 through 18, inclusive, and
incorporates those Paragraphs herein, as though fully slated as this Paragraph 19.

20, As described above, the Defendant Officers intended to cause, and did
cause, harmful and offensive contact to the Plaintiff during their arrest of the Plamul?.

21. The misconduct was undertaken by the Detendant Officers under color of
law, under the course and scope of their employment as Village of Maywood Police
Officers, was objectively unreasonable, with malice, and was undertaken intentionally
and was willful and wanton.

22. Defendant Village of Maywood is liable as principal for all torts
committed by its agents.

23, As a direct and proximate result of the Defendant Officers’ acts the
Plaintiff was injured, suffered emotional anxiety, mental trauma, humiliation, fear, stress,
pain and sulfering, and other damages.

WHEREFORE, the Plaintiff, JAMES FINKILEY, prays for judgment in his favor

and against the Defendants, VILLAGE OF MAYWOOD, OFFICER BUTLER, and
 

Case: 1:06-cv-01963 Document #: 1 Filed: 04/07/06 Page 5 of 8 PagelD #:5

OFFICER ROSA, awarding compensatory and punitive damages against the Defendants,
as well as any other relief this Court deems just and appropriate.

COUNT IL- 42 U.S.C. §1983
Excessive Force- Officer Rosa

24. The Plaintiff realleges Paragraphs | through 23, inclusive, and
incorporates those Paragraphs herein, as though fully stated as this Paragraph 24.

35, As described above, Defendant ROSA used excessive force when he
transported the Plaintiff.

26, The misconduct was undertaken by Defendant ROSA under color of law,
under the course and scope of his employment, was objectively unreasonable, with
malice, and was undertaken intentionally with willful indifference to the Plaintilfs
constitutional rights.

27. Defendant ROSA’s acts were undertaken in violation of the Plamtilf’s
rights as guaranteed by the United States Constitution.

28. Asa direct and proximate result of Defendant ROSA’s acts the Plaintiff
was injured, suffered emotional anxiety, mental trauma, humiliation, fear, stress, pain and
suffering, and oiher damages.

WHEREFORE, the Plaintiff, JAMES FINKLEY, prays for judgment in his favor
and against the Defendant, OFFICER ROSA, awarding compensatory damages, attorney
fees, costs, and punitive damages against the Defendant, as well as any other relief this

Court deems just and appropriate.
 

Case: 1:06-cv-01963 Document #: 1 Filed: 04/07/06 Page 6 of 8 PagelD #:6

Count I'V- Illinois State Law
Battery- Village of Maywood, Officer Rosa

29, The Plaintiff realleges Paragraphs {| through 28, inclusive, and
incorporates those Paragraphs herein, as though fully stated as this Paragraph 29,

30, As described above, Defendant ROSA intended to cause, and did cause,
harmful and offensive contact to the Plaintiff when he transported the PlamulT.

31. The misconduct was undertaken by Defendant ROSA under color of law,
under the course and scope of his employment as a Village of Maywood Police Officer,
was objectively unrcasonable, with malice, and was undertaken intentionally and was
willful and wanton.

32. Defendant Village of Maywood is liable as principal for all torts
committed by its agents.

33. As a direct and proximate result of Defendant ROSA’s acts the Plaintiff
was injured, suffered emotional anxiely, mental trauma, humiliation, fear, stress, pain and
sulfering, and other damages.

WHEREFORE, the Plaintiff, JAMES FINKLEY, prays for judgment in his favor
and against the Defendants, VILLAGE Ol MAYWOOD, and OFFICER ROSA,
awarding compensatory and punitive damages against the Defendants, as well as any
other relief this Court deems just and appropriate,

COUNT V- 42 U.S.C, $1983
Unlawful Extended Detention- Defendant Officers

34. The Plaintiff realleges Paragraphs | through 33, inclusive, and

incorporates those Paragraphs herein, as though fully stated as this Paragraph 34.
 

Case: 1:06-cv-01963 Document #: 1 Filed: 04/07/06 Page 7 of 8 PagelD #:7

35. As described above, the Defendant Officers unlawfully extended the
deteniion of the Plaintiff by preventing the Plaintiff from going to Court for a probable
cause determination.

36. The misconduct was undertaken by the Defendant Officers under color of
law, under the course and scope of their employment, was objectively unrcasonable, with
malice, and was undertaken intentionally with willful indifference to the Plaintiff's
constitutional rights.

37. The Delendant Officers’ acts were undertaken in violation of the
Plainuilf"s rights as guaranteed by the United States Constitution.

38. As a direct and proximate result of the Defendant Officers’ acts the
Plainuilf was injured, suffered emotional anxiety, mental trauma, humiliation, fear, stress,
pain and suffering, and other damages.

WHEREFORE, the Plaintiff, JAMES FINKLEY, prays for judgment in his favor
and against the Defendants, OFFICER BUTLER, and OFFICER ROSA, awarding
compensatory damages, attorney feces, costs, and punitive damages against the
Defendants, as well as any other relief this Court deems just and appropriate.

Count VI- Illinois State Law
Indemnification- Village of Maywood

39. The Plaintiff realleges Paragraphs 1 through 38, inclusive, and
incorporates those Paragraphs herein, as though fully stated as this Paragraph 39.

40. At all relevant times the Defendant Officers were acting under color of
law and under the course and scope of their employment.

Al. At all relevant times the Village of Maywood was the employer of the

Defendant Officers.
Case: 1:06-cv-01963 Document #: 1 Filed: 04/07/06 Page 8 of 8 PagelD #:8

WHEREFORE, the Plaintiff, JAMES FINKLEY, pursuant to 745 LLCS 10/9-102,
demands judgment aguinst Defendant, VILLAGE OF MAYWOOD, in the amounts
awarded to the Plaintiff against the individual Defendants and for whatever additional

relief this Court deems just and appropriate.

JURY DEMAND

The Plaintiff demands a trial by jury on all Counts.

Respectfully Submitted by,

BASILEIOS J. FOUTRIS, Attorney
for Plaintiff

Basilcios J. Foutris

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